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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

ALEXANDER CORDERO,          )
                            )
   Plaintiff,               )
                            )                    CIVIL ACTION
v.                          )
                            )                    FILE No. _____________________
WOODCREEK ASSOCIATES, L.P., )
                            )
   Defendant.               )

                                   COMPLAINT

      COMES NOW, ALEXANDER CORDERO, by and through the

undersigned     counsel,   and   files   this,   his   Complaint   against   Defendant

WOODCREEK ASSOCIATES, L.P. pursuant to the Americans with Disabilities

Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines,

28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this

Court as follows:

                           JURISDICTION AND VENUE

      1.      This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.


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      2.      Venue is proper in the federal District Court for the Northern District

of Georgia, Atlanta Division, as the parcel of real property at issue in this case, and

for which Plaintiff seeks injunctive relief concerning, is located in Gwinnett

County, Georgia.

                                      PARTIES

      3.      Plaintiff ALEXANDER CORDERO (hereinafter “Plaintiff”) is, and

has been at all times relevant to the instant matter, a natural person residing in

Lawrenceville, Georgia (Gwinnett County).

      4.      Plaintiff is a paraplegic and is disabled as defined by the ADA.

      5.      Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and/or pinching.

      6.      Plaintiff cannot walk and uses a wheelchair for mobility purposes.

      7.      Defendant    WOODCREEK             ASSOCIATES,       L.P.   (hereinafter

“Defendant”) is a Georgia limited partnership that transacts business in the state of

Georgia and within this judicial district.

      8.      Defendant may be properly served with process via its registered

agent for service, to wit: Frank J. Jones, Jr., 1805 Highway 82 West, Tifton,

Georgia, 31793.


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                           FACTUAL ALLEGATIONS

      9.      On or about January 21, 2022, Plaintiff was a customer at “Advance

Auto Parts” and “Crazy Wings,” businesses located at 1455 Pleasant Hill Road,

Lawrenceville, Georgia 30044.

      10.     Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The structure and improvements

within which Advance Auto Parts and Crazy Wings operate, and that is at issue in

this case, shall be referenced herein as the “Facility,” and said real property shall

be referenced herein as the “Property”).

      11.     Plaintiff lives approximately eleven (11) miles from the Facility and

Property.

      12.     Plaintiff’s access to the businesses located at 1455 Pleasant Hill Road,

Lawrenceville, Georgia 30044 (Gwinnett County Property Appraiser’s parcel

number R6182 010), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of his disabilities, and he will be denied and/or

limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.


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      13.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

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      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and


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ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others


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with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      30.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)     EXTERIOR ELEMENTS:

      (i)     The two accessible parking spaces on the Property that are on

              the northwest side of the Facility are not located on the shortest

              accessible route to the accessible entrances of the Facility, in

              violation of section 208.3.1 of the 2010 ADAAG standards.

      (ii)    One of the two accessible parking spaces on the Property that

              are on the northwest side of the Facility has a slope and cross-

              slope in excess of 1:48 (one to forty-eight), in violation of

              section 502.4 of the 2010 ADAAG standards.

      (iii)   The access aisle adjacent to one of the two accessible parking


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       spaces on the Property that are on the northwest side of the

       Facility also has a slope and cross-slope in excess of 1:48 (one

       to forty-eight), in violation of section 502.4 of the 2010

       ADAAG standards. Further, this access aisle is too narrow and

       is inadequately marked, in violation of section 502.3 of the

       2010 ADAAG standards. This access aisle is also not level due

       to the presence of a 1” (one inch) concrete seam running

       through its boundaries, a further violation of section 502.4 of

       the 2010 ADAAG standards.

(iv)   The walking surfaces of the accessible route on the Property

       that leads from the accessible parking spaces on the

       northwestern side of the Facility to the entrance of the Advance

       Auto Parts portion of the Facility have a cross-slope in excess

       of 1:48 (one to forty-eight), in violation of section 403.2 of the

       2010 ADAAG standards, and a running slope in excess of 1:20

       (one to twenty), in violation of section 403.3 of the 2010

       ADAAG standards, and which requires turning on a sloped

       surface.

(v)    The walking surfaces of the accessible route on the Property


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       that leads from the accessible parking space on the southeastern

       side of the Facility to the entrance of the Advance Auto Parts

       portion of the Facility have a cross-slope in excess of 1:48 (one

       to forty-eight), in violation of section 403.2 of the 2010

       ADAAG standards, and a running slope in excess of 1:20 (one

       to twenty), in violation of section 403.3 of the 2010 ADAAG

       standards, and which requires turning on a sloped surface.

(vi)   The floor or ground surface within the required maneuvering

       clearance at the entrance to the Advance Auto parts portion of

       the Facility has improper changes in level, in violation of

       section 404.2.4.4 of the 2010 ADAAG standards.

(b)    INTERIOR ELEMENTS:

(i)    The hand operated flush controls on the commodes in the

       accessible toilet stalls in the restrooms in the Crazy Wings

       portion of the Facility are not located on the open side of the

       accessible stalls, in violation of section 604.6 of the 2010

       ADAAG standards.

(ii)   The lavatories and/or sinks in the restrooms in the Crazy Wings

       portion of the Facility have exposed pipes and surfaces that are


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              not insulated or configured to protect against contact with the

              skin, in violation of section 606.5 of the 2010 ADAAG

              standards.

      (iii)   The paper towel dispensers in the restrooms in the Crazy Wings

              portion of the Facility are located outside the prescribed vertical

              reach ranges set forth in section 308.2.1 of the 2010 ADAAG

              standards.

      (iv)    The mirrors in the restrooms in the Crazy Wings portion of the

              Facility exceed the maximum permissible height set forth in

              section 603.3 of the 2010 ADAAG standards.

      31.     Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to exit and re-enter his vehicle while on the

Property, more difficult and dangerous for Plaintiff to travel upon the accessible

routes on the Property, and rendered portions of the restroom in the Crazy Wings

portion of the Facility inaccessible to Plaintiff.

      32.     The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      33.     Plaintiff requires an inspection of Facility and Property in order to


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determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      34.   The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      36.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.   In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      39.   Plaintiff is without adequate remedy at law, is suffering irreparable


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harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      42.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the

             physical barriers to access and (ii) alter the subject Facility and

             Property to make them readily accessible to, and useable by,


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             individuals with disabilities to the extent required by the ADA;

      (d)    That the Court award Plaintiff’s counsel reasonable attorneys' fees,

             litigation expenses and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable

             in light of the circumstances.

                                       Dated: February 7, 2022.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
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                                       1123 Zonolite Road, N.E., Suite 7-B
                                       Atlanta, Georgia 30306
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich



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